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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 07-60238-CR-ZLOCH/Snow


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  ISHWADE SUBRAN, et al.,

            Defendants.
  ______________________________
                                   O R D E R

             THIS CAUSE is before the Court on defendant Wade Parker’s

  Motions to Adopt (DE 58 & 80) Iswade Subran’s Motion for Disclosure

  of Evidence Concerning Confidential Informants (DE 57) and Iswade

  Subran’s Motion for Reconsideration of Order Denying in Part Motion

  for Disclosure of Evidence Concerning Confidential Informant(s) (DE
  71).   Being fully advised, it is

              ORDERED and ADJUDGED that the Motions to Adopt (DE 58 and

  80) are GRANTED, except as to any matter where standing is an

  essential element of participation.        Any appeal from or objection

  to   any   magistrate    judge   ruling   must   be   taken   individually,
  specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 28nd

  day of January, 2008.




  Copies to:
  AUSA Bruce Brown (FTL)
  Richard Della Fera, Esq.
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